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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION


  STATE OF TEXAS, et al.,

                               Plaintiffs,

  v.
                                                     CIVIL ACTION NO. 6:24-cv-00437-JDK
  BLACKROCK, INC.,
  STATE STREET CORPORATION,
  THE VANGUARD GROUP, INC.,

                               Defendants.


  [PROPOSED] ORDER GRANTING DEFENDANTS’ JOINT MOTION TO DISMISS AS
               TO DEFENDANT THE VANGUARD GROUP, INC.

        ON THIS DAY, the Court considered Defendants’ Joint Motion to Dismiss Counts I–XIV

 and XVIII of the Amended Complaint (the “Motion”). Upon review of the Motion, the documents

 on file, and any arguments of counsel, the Court finds that the Motion should be, and hereby is,

 GRANTED as to Defendant The Vanguard Group, Inc.

        IT IS ORDERED that Plaintiffs’ claims against Defendant The Vanguard Group, Inc. are

 DISMISSED WITH PREJUDICE.
